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                     5th         March




                                                 C.W. Hoffman, Jr.
                                                 United States Magistrate Judge
